Case 19-82798-CRJ11   Doc 134 Filed 05/08/20 Entered 05/08/20 11:26:53   Desc
                       Main Document     Page 1 of 15
Case 19-82798-CRJ11   Doc 134 Filed 05/08/20 Entered 05/08/20 11:26:53   Desc
                       Main Document     Page 2 of 15
Case 19-82798-CRJ11   Doc 134 Filed 05/08/20 Entered 05/08/20 11:26:53   Desc
                       Main Document     Page 3 of 15
Case 19-82798-CRJ11   Doc 134 Filed 05/08/20 Entered 05/08/20 11:26:53   Desc
                       Main Document     Page 4 of 15
Case 19-82798-CRJ11   Doc 134 Filed 05/08/20 Entered 05/08/20 11:26:53   Desc
                       Main Document     Page 5 of 15
Case 19-82798-CRJ11   Doc 134 Filed 05/08/20 Entered 05/08/20 11:26:53   Desc
                       Main Document     Page 6 of 15
Case 19-82798-CRJ11   Doc 134 Filed 05/08/20 Entered 05/08/20 11:26:53   Desc
                       Main Document     Page 7 of 15
Case 19-82798-CRJ11   Doc 134 Filed 05/08/20 Entered 05/08/20 11:26:53   Desc
                       Main Document     Page 8 of 15
Case 19-82798-CRJ11   Doc 134 Filed 05/08/20 Entered 05/08/20 11:26:53   Desc
                       Main Document     Page 9 of 15
Case 19-82798-CRJ11   Doc 134 Filed 05/08/20 Entered 05/08/20 11:26:53   Desc
                       Main Document    Page 10 of 15
Case 19-82798-CRJ11   Doc 134 Filed 05/08/20 Entered 05/08/20 11:26:53   Desc
                       Main Document    Page 11 of 15
Case 19-82798-CRJ11   Doc 134 Filed 05/08/20 Entered 05/08/20 11:26:53   Desc
                       Main Document    Page 12 of 15
Case 19-82798-CRJ11   Doc 134 Filed 05/08/20 Entered 05/08/20 11:26:53   Desc
                       Main Document    Page 13 of 15
Case 19-82798-CRJ11   Doc 134 Filed 05/08/20 Entered 05/08/20 11:26:53   Desc
                       Main Document    Page 14 of 15
Case 19-82798-CRJ11   Doc 134 Filed 05/08/20 Entered 05/08/20 11:26:53   Desc
                       Main Document    Page 15 of 15
